          Case 2:24-cv-00568-CB       Document 24       Filed 05/24/25        Page 1 of 1



                           IN THE UNITED STATES DISTRICT COURT

                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


    NINGBO DONGCHUAN
      SWIMMING POOL
     EQUIPMENT CO., LTD
___________________________                 )
                                            )
                 vs.                        )                          24-cv-568
                                                   Civil Action No. ____________
                                            )
         ONDWAY et al
___________________________                 )
                                            )


                                                    JIANYIN LIU
MOTION FOR ADMISSION PRO HAC VICE OF ____________________
                                                BOWANJIE
         [Affiant], undersigned counsel for [Plaintiff/Defendant] ________, hereby moves that
[Affiant] be admitted to appear and practice in this Court in the above-captioned matter as
                                                   BOWANJIE
counsel pro hac vice for [Plaintiff/Defendant] ________ in the above-captioned matter pursuant
to LCvR 83.2 and LCvR 83.3, LCrR 83.2 and this Court's Standing Order Regarding Pro Hac
Vice Admissions dated May 31, 2006 (Misc. No. 06-151).

       In support of this motion, undersigned counsel attaches the Affidavit for Admission Pro
Hac Vice of [Affiant] filed herewith, which, it is averred, satisfies the requirements of the
foregoing Local Rules and Standing Order.

                                                   Respectfully submitted,
         05/24/2025                                       s/ JIANYIN LIU
Dated:                                             _______________________________
                                                   [Affiant’s name] (Bar. ID NO.       )
                                                   [Affiant’s Address/Contact Details]
                                                      1007675 (Florida Bar)
                                                   Counsel for [Plaintiff/Defendant]


                                                    15750 SW 92ND AVE UNIT 20C,
                                                    PALMETTO BAY, FL 33157
                                                    EMAIL: JAMESLIULAW@GAMIL.COM
                                                    Phone: 305 -209-6188
